                           Case 4:05-cr-40026-FDS Document 687 Filed 09/27/13 Page 1 of 8
 2AO 245B(05-MA)             (Rev. 06/05) Judgment in a Criminal Case
                              Sheet 1 - D. Massachusetts - 10/05



                                           UNITED STATES DISTRICT COURT
                                                              District of Massachusetts
             UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                 MUHAMED MUBAYYID                                          Case Number: 4: 05 CR 40026                    - 001 - FDS
                                                                           USM Number: 80511-038
                                                                            Michael Andrews
                                                                           Defendant’s Attorney
                                                                                                                        Additional documents attached
  Date of Original/Amended Judgment:               8/1/08

  ✔     Correction of Sentence on Remand (Fed. R. Crim. P. 35(a))
 THE DEFENDANT:
      pleaded guilty to count(s)
      pleaded nolo contendere to count(s)
      which was accepted by the court.

 ✔ was found guilty on count(s)           1s, 2s, 3s-5s, 8s
      after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:                                              Additional Counts - See continuation page

 Title & Section                     Nature of Offense                                                         Offense Ended             Count
18 USC § 1001(a)(1)            Scheme to conceal material facts                                                  04/07/03                  1s
18 USC § 371                   Conspiracy to defraud the United States                                           04/2003                   2s
26 USC § 7206(1)               False tax return                                                                  06/07/2002                3s-5s
26 USC § 7212(a)               Obstructing and impeding the Internal Revenue Service                             4/7/2003                  8s

        The defendant is sentenced as provided in pages 2 through                 8       of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)
      Count(s)                                                    is    are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                             09/16/13
                                                                           Date of Imposition of Judgment

                                                                             /s/ F. Dennis Saylor
                                                                           Signature of Judge

                                                                             The Honorable F. Dennis Saylor IV
                                                                             Judge, U.S. District Court
                                                                           Name and Title of Judge

                                                                             9/27/2013
                                                                           Date
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2AO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
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DEFENDANT: MUHAMED MUBAYYID
CASE NUMBER: 4: 05 CR 40026 - 001 - FDS

                                                                 IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:                   time served
    This term consisted of 11 months on each count, served concurrently.


        The court makes the following recommendations to the Bureau of Prisons:




        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
             at                                    G a.m.         G p.m.       on                                        .
             as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             before 2 p.m. on                                              .

             as notified by the United States Marshal.

             as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                            to

a                                                    , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                       Case 4:05-cr-40026-FDS Document 687 Filed 09/27/13 Page 3 of 8
2AO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
                      Sheet 5 - D. Massachusetts - 10/05

                                                                                                           Judgment — Page       3     of      8
             MUHAMED MUBAYYID
DEFENDANT:
CASE NUMBER: 4: 05 CR 40026 - 001 - FDS
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                              Fine                                 Restitution
TOTALS            $                $600.00                                $               $1,000.00            $                 $0.00


    The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                 Total Loss*                               Restitution Ordered                  Priority or Percentage




                                                                                                                                     See Continuation
                                                                                                                                     Page
TOTALS                              $                            $0.00           $                       $0.00

     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          the interest requirement is waived for the                fine             restitution.
          the interest requirement for the              fine             restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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2AO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
                      Sheet 6 - D. Massachusetts - 10/05
                                                                                                     Judgment — Page            4   of       8
                      MUHAMED MUBAYYID
DEFENDANT:
CASE NUMBER: 4: 05 CR 40026                          - 001 - FDS

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A         Lump sum payment of $                                  due immediately, balance due

                not later than                                      , or
                in accordance                C,          D,           E, or   G F below; or
B     ✘ Payment to begin immediately (may be combined with                    C,         D, or       F below); or

C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         Special instructions regarding the payment of criminal monetary penalties:
     The defendant shall pay the fine according to a court ordered repayment plan.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



                                                                                                                                    See Continuation
     Joint and Several
                                                                                                                                    Page
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B   (Rev. 06/05) Criminal Judgment
          Attachment (Page 1) — Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                           Judgment — Page 5 of                    8
DEFENDANT:   MUHAMED MUBAYYID
CASE NUMBER: 4: 05 CR 40026 - 001 - FDS
DISTRICT:     MASSACHUSETTS
                                                            STATEMENT OF REASONS

I     COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A   G       The court adopts the presentence investigation report without change.

      B   ✔
          G       The court adopts the presentence investigation report with the following changes.
                  (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
                  (Use Section VIII if necessary.)

          1       ✔ Chapter Two of the U.S.S.G. Manual determinations by court (including changes to base offense level, or
                  G
                       specific offense characteristics):

                           The Court finds no tax loss under 2B1.1(b)(1)(g) and no misrepresentation of charitable ageny under 2B1.1(b)(7
          2       ✔ Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                  G
                       role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility):

                           The Court finds no abuse of position of trust under 3B1.3
          3       G Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or
                       scores, career offender, or criminal livelihood determinations):



          4       G Additional Comments or Findings (including comments or factual findings concerning certain information in the
                       presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                       or programming decisions):



      C   G       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A   ✔
          G       No count of conviction carries a mandatory minimum sentence.

      B   G       Mandatory minimum sentence imposed.

      C   G       One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                  sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                  does not apply based on

                  G findings of fact in this case
                  G substantial assistance (18 U.S.C. § 3553(e))
                  G the statutory safety valve (18 U.S.C. § 3553(f))


III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):
                                 8
      Total Offense Level:
      Criminal History Category: I
      Imprisonment Range:      0       to 6          months
      Supervised Release Range: 2            to 3            years
      Fine Range: $ 1,000          to $ 10,000
      G
      ✔ Fine waived or below the guideline range because of inability to pay.
                             Case 4:05-cr-40026-FDS Document 687 Filed 09/27/13 Page 6 of 8
AO 245B (05-MA) (Rev. 06/05) Criminal Judgment
                Attachment (Page 2) — Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                             Judgment — Page 6 of                   8
DEFENDANT: MUHAMED MUBAYYID
CASE NUMBER: 4: 05 CR 40026 - 001 - FDS
DISTRICT:     MASSACHUSETTS
                                                            STATEMENT OF REASONS
IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

      A      G         The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.

      B      G         The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                       (Use Section VIII if necessary.)


      C      G         The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                       (Also complete Section V.)

      D    G
           ✔           The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)
      A The sentence imposed departs (Check only one.):
        G below the advisory guideline range
        G above the advisory guideline range
      B      Departure based on (Check all that apply.):
             1              Plea Agreement (Check all that apply and check reason(s) below.):
                            G 5K1.1 plea agreement based on the defendant’s substantial assistance
                            G 5K3.1 plea agreement based on Early Disposition or “Fast-track” Program
                            G binding plea agreement for departure accepted by the court
                            G plea agreement for departure, which the court finds to be reasonable
                            G plea agreement that states that the government will not oppose a defense departure motion.
             2              Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                            G 5K1.1 government motion based on the defendant’s substantial assistance
                            G 5K3.1 government motion based on Early Disposition or “Fast-track” program
                            G government motion for departure
                            G defense motion for departure to which the government did not object
                            G defense motion for departure to which the government objected
             3              Other
                            G   Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):

       C         Reason(s) for Departure (Check all that apply other than 5K1.1 or 5K3.1.)

G    4A1.3        Criminal History Inadequacy               G 5K2.1 Death                                          G 5K2.11 Lesser Harm
G    5H1.1        Age                                       G 5K2.2 Physical Injury                                G 5K2.12 Coercion and Duress
G    5H1.2        Education and Vocational Skills           G 5K2.3 Extreme Psychological Injury                   G 5K2.13 Diminished Capacity
G    5H1.3        Mental and Emotional Condition            G 5K2.4 Abduction or Unlawful Restraint                G 5K2.14 Public Welfare
G    5H1.4        Physical Condition                        G 5K2.5 Property Damage or Loss                        G 5K2.16 Voluntary Disclosure of Offense
G    5H1.5        Employment Record                         G 5K2.6 Weapon or Dangerous Weapon                     G 5K2.17 High-Capacity, Semiautomatic Weapon
G    5H1.6        Family Ties and Responsibilities          G 5K2.7 Disruption of Government Function              G 5K2.18 Violent Street Gang
G    5H1.11       Military Record, Charitable Service,      G 5K2.8 Extreme Conduct                                G 5K2.20 Aberrant Behavior
                  Good Works                                G 5K2.9 Criminal Purpose                               G 5K2.21 Dismissed and Uncharged Conduct
G    5K2.0        Aggravating or Mitigating Circumstances   G 5K2.10 Victim’s Conduct                              G 5K2.22 Age or Health of Sex Offenders
                                                                                                                   G 5K2.23 Discharged Terms of Imprisonment
                                                                                                                   G Other guideline basis (e.g., 2B1.1 commentary)
       D         Explain the facts justifying the departure. (Use Section VIII if necessary.)
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AO 245B ( 05-MA) (Rev. 06/05) Criminal Judgment
                 Attachment (Page 3) — Statement of Reasons - D. Massachusetts 10/05

             MUHAMED MUBAYYID                                                                                              Judgment — Page 7 of                      8
DEFENDANT:
CASE NUMBER: 4: 05 CR 40026 - 001 - FDS
DISTRICT:     MASSACHUSETTS
                                                           STATEMENT OF REASONS
VI    COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
      (Check all that apply.)
      A      The sentence imposed is (Check only one.):
            G below the advisory guideline range
           ✔G above the advisory guideline range
      B      Sentence imposed pursuant to (Check all that apply.):
             1           Plea Agreement (Check all that apply and check reason(s) below.):
                         G      binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                         G      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                         G      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                                system

             2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                         G      government motion for a sentence outside of the advisory guideline system
                         G      defense motion for a sentence outside of the advisory guideline system to which the government did not object
                         G      defense motion for a sentence outside of the advisory guideline system to which the government objected

             3           Other
                         ✔
                         G      Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below.):

      C      Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

            ✔
            G the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1)
            ✔
            G to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C. § 3553(a)(2)(A))
             G to afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))
            ✔
            G to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))
             G to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
                 (18 U.S.C. § 3553(a)(2)(D))
             G to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6))
             G to provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))

      D      Explain the facts justifying a sentence outside the advisory guideline system. (UseSection VIII if necessary.)

             This Court sentenced the defendant to a nonguideline sentence of 11 months—five months higher than the top of the
             applicable guideline range (zero to six months)—under 18 U.S.C. § 3553(a). The Court focused principally on the nature
             and circumstances of the offense.
             The offenses of conviction were serious. The IRS was deprived of significant information concerning Care for a lengthy
             period of time. Defendant, along with other officers in the organization, took advantage of people’s charitable, religious,
             and humane impulses, and used Care for the conduct of non-charitable activities. The defendant also undertook to destroy
             certain evidence in order to obstruct any investigation.
             Substantial mitigating factors were, however, also present. The defendant has no criminal record, and has strong support
             from the community. The number of letters submitted on behalf of the defendant were unusually complimentary—he is
             described as polite, humble, respectful, gentle, soft spoken, and generous. Defendant has also demonstrated devotion to
             true charitable works. Defendant was not present at the formation of Care, and he did not organize it. He was not present
             during the paper publication of the Al-Hussams, although he maintained copies on Care’s website. The Court also
             considered the fact that Mubayyid was convicted of more offenses than his co-defendants, due in large part to statute of
             limitations issues, and not due to substantially differing degrees of criminal culpability.
             (Continued in section VIII)
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                 Attachment (Page 4) — Statement of Reasons - D. Massachusetts - 10/05

                         MUHAMED MUBAYYID                                                                                  Judgment — Page 8            of          8
 DEFENDANT:
 CASE NUMBER: 4: 05 CR 40026 - 001 - FDS
 DISTRICT:     MASSACHUSETTS

                                                          STATEMENT OF REASONS

 VII COURT DETERMINATIONS OF RESTITUTION

       A     ✔
             G     Restitution Not Applicable.

       B     Total Amount of Restitution:

       C     Restitution not ordered (Check only one.):

             1     G For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
                        identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

             2     G For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because determining complex
                        issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
                        that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

             3     G For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelines, restitution is not
                        ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh
                        the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1)(B)(ii).

             4     G Restitution is not ordered for other reasons. (Explain.)


       D     G     Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):



 VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)

  The Court also considered factors of general and specific deterrence, as well as the need for the sentence to reflect the seriousness of the
  offense, promote respect for the law, and provide just punishment, as well as protect the public, in accordance with § 3553(a).

  NOTE: Defendant has already served the sentence originally imposed.




                     Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.

 Defendant’s Soc. Sec. No.:       XXX-XX-XXXX                                                         Date of Imposition of Judgment
                                                                                                       09/16/13
 Defendant’s Date of Birth:        1965
                                                                                                        /s/ F. Dennis Saylor
 Defendant’s Residence Address:         Australia                                                     Signature of Judge
                                                                                                 The Honorable F. Dennis Saylor IV            Judge, U.S. District Court
 Defendant’s Mailing Address:                                                                         Name and Title of Judge
                                        Australia
                                                                                                      Date Signed 9/27/2013
